                Case 8:04-cr-00235-DKC Document 1516 Filed 05/25/12 Page 1 of 1



                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

     ROGER W. TITUS                                                                    6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                         GREENBELT, MARYLAND 20770
                                                                                              301-344-0052


                                           MEMORANDUM

       TO:            Counsel of Record

       FROM:          Judge Roger W. Titus

       RE:            United States of America v. Lavon Dobie
                      Criminal No. RWT-04-235-9

       DATE:          May 25, 2012

                                                 *********

              On November 2, 2011, the United States Court of Appeals for the Fourth Circuit vacated
       Defendant’s sentence as to Count One and remanded the matter to the district court for
       resentencing for the purpose of considering Defendant’s request for a minor role adjustment. See
       ECF No. 1475-1. That same day, Defendant filed a Motion for Retroactive Application of
       Sentencing Guidelines to Crack Cocaine Offense 18 U.S.C. § 3582. See ECF No. 1476. On
       May 24, 2012, Defendant filed a Motion to Hold in Abeyance the Right to file a Motion under
       2255, pending her resentencing. See ECF No. 1515.

              The resentencing of the Defendant and a hearing on Defendant’s Motion for Retroactive
       Application of Sentencing Guidelines to Crack Cocaine Offense [ECF No. 1476] and
       Defendant’s Motion to Hold in Abeyance the Right to file a Motion under 2255 [ECF No. 1515]
       is SCHEDULED for July 17, 2012 at 1:00 p.m. The presence of the Defendant is required.

               Despite the informal nature of this ruling, it shall constitute an Order of the Court, and the
       Clerk is directed to docket it accordingly.



                                                                     /s/
                                                      Roger W. Titus
                                                      United States District Judge
